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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO


UNITED STATES OF AMERICA,                    )       CASE NO. 1:08CR00435-003
                                             )
       Plaintiff,                            )      JUDGE JAMES S. GWIN
                                             )
 vs.                                         )      ORDER
                                             )
CEDRICA JOHNSON,                             )
                                             )
       Defendant.                            )


       This matter was heard on May 16, 2013, upon the request of the United States Pretrial

and Probation Office for a finding that defendant had violated the conditions of her supervised

release. The defendant was present and represented by Attorney Timothy C. Ivey.

       The violation report was referred to Magistrate Judge William H. Baughman, Jr., to

conduct appropriate proceedings and for the issuance of a Report and Recommendation. The

Report and Recommendation was filed April 10, 2013 [Doc. 121] and no objections were filed

by either plaintiff or defendant.

       The Court entertained statements from counsel for the parties, the defendant and the

supervising officer. The Court adopted the Report and Recommendation and found the

following terms of supervision had been violated:

               1) Failure to report as directed;

               2) Failure to submit monthly supervision reports.

       The Court noted the violation(s) to be Grade C, a Criminal History Category of I and

recommended guideline range of 3 to 9 months. The Court, after considering the Sec. 3553(a)

factors, revoked defendant’s supervised release and committed defendant to the Bureau of

Prisons for a term of 4 months with credit for time served in federal custody. Upon release,
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supervised release shall be terminated.

       The defendant was advised of her right to an appeal and was remanded to the custody of

the U.S. Marshal, Cleveland, Ohio.



       IT IS SO ORDERED.

Dated: May 17, 2013                                s/ James S. Gwin
                                                  JAMES S. GWIN
                                                  UNITED STATES DISTRICT JUDGE
